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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

                Civil Action No. _______________________________________


CHRISTINE GRABLIS, individually;
and on behalf of All Others Similarly Situated;
       Plaintiff,
v.
ONECOIN LTD., a foreign corporation;
RUJA IGNATOVA, an individual; KONSTANTIN IGNATOV, an individual;
SEBASTIAN GREENWOOD, an individual; and MARK SCOTT, an individual;
      Defendants.
________________________________________________/


                             CLASS ACTION COMPLAINT

                                        JURY TRIAL DEMANDED




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                                            INTRODUCTION

               [They] created a multi-billion-dollar “cryptocurrency”
               company based completely on lies and deceit. They promised
               big returns and minimal risk, but ... this business was a pyramid
               scheme based on smoke and mirrors more than zeroes and ones.
               Investors were victimized while the defendants got rich.

That is how Manhattan U.S. Attorney Geoffrey S. Berman described the organizers and promoters

of OneCoin: a purported cryptocurrency that never really existed, on a blockchain that never really

existed, born from mining farms that never really existed, yet fraudulently sold to investors

throughout the world through a densely-packed multi-level-marketing system that ultimately

amassed a reported Four Billion Dollars ($4,000,000,000.00) in revenues. In this “zeros and ones”

binary tale, the “ones” who reaped incredible (yet ill-gotten) financial gains are the creators and

marketers of OneCoin, while the folks left grasping onto “zeros” are the thousands upon thousands

of investors duped into purchasing falsely promoted, unregistered securities that leave even the

most ardent cryptocurrency believers crying foul.

       Lest anyone be further fooled into thinking that OneCoin was ever anything other than an

outright, these words written by OneCoin founder RUJA IGNATOVA and shared with her co-

founder at the origin of the OneCoin scheme reveal not only why she was dubbed the

“CryptoQueen” and referred to by many in the OneCoin family as “Her Royal Highness,” but also

why she fancied for herself another infamous moniker:

            It might not be [something] really clean or that I normally work on or even
            can be proud of (except with you in private when we make the money) –
            but … I am especially good in this very borderline cases [sic], where the
            things become gray – and you as the magic sales machine – and me as
            someone who really can work with numbers, legal and back you up in a
            good and professional way.

            We could really make it big – like MLM meets “B[*]tch of Wall Street.” 😉😉



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       Plaintiff CHRISTINE GRABLIS, an individual (“Plaintiff”), individually and on behalf of

all other persons similarly situated as defined herein, by and through undersigned counsel, allege

in this Class Action Complaint for violations of the of Sections 12 and 15 of the Securities Act of

1933 (the “Securities Act”), breach/rescission of contract, unjust enrichment, fraudulent

inducement, fraudulent misrepresentation, negligent misrepresentation, conversion, and civil

conspiracy the following, based upon personal knowledge with respect to her own acts, and upon

facts obtained through an investigation conducted by her counsel, which included, inter alia: (a)

documents and solicitation materials released by Defendants (defined below), in connection with

the OneCoin trader packages/memberships and OneCoins; (b) public statements made by the

ONECOIN CORPORATE Defendants (defined below) concerning ONECOIN LTD. and the

OneCoin trader packages/memberships and OneCoins; and (c) media publications concerning

ONECOIN LTD., the OneCoin trader packages/memberships, and OneCoins.

       Plaintiff believes that further substantial evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery. Many of the facts supporting the

allegations contained herein are known only to Defendants or are exclusively within their control.

                                      NATURE OF THE ACTION

       1.       This is a class action on behalf of a class of investors consisting of all individuals

and entities who transferred to ONECOIN LTD. any fiat currency or cryptocurrency to invest in a

purported digital cryptocurrency called “OneCoin” and who suffered financial injury as a result

thereof. Upon information and belief, the financial harm caused by ONECOIN LTD.’s fraudulent

investment program exceeds Four Billion Dollars ($4,000,000,000.00).




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       2.       This action alleges violation of Sections 12(a)(1) and 15(a), 15 U.S.C. §§ 77l(a)(1),

77o(a), of the Securities Act, breach/rescission of contract, 1 unjust enrichment, fraudulent

inducement, fraudulent misrepresentation, negligent misrepresentation, conversion, and civil

conspiracy against ONECOIN LTD.; RUJA IGNATOVA, an individual; KONSTANTIN

IGNATOV, an individual; SEBASTIAN GREENWOOD, an individual (ONECOIN LTD., RUJA

IGNATOVA, KONSTANTIN IGNATOV, and SEBASTIAN GREENWOOD are collectively

referred to herein as “the ONECOIN CORPORATE Defendants”); and MARK SCOTT, an

individual.

       3.       Despite being cloaked in technological sophistication and jargon, Defendants

operated a century-old fraud that was simple at its core — victims would invest in OneCoin trader

packages/memberships after they were driven to ONECOIN LTD. by promoters; and ONECOIN LTD.

would then pay existing investors with new money from new investors, who were in turn expected

and incentivized to get more new investors to produce more new money for ONECOIN LTD.

       4.       In reality, ONECOIN LTD. was nothing more than a pyramid/Ponzi scheme.

       5.       As stated by FBI Assistant Director-in-Charge William Sweeney, Jr.:
                OneCoin was a cryptocurrency existing only in the minds of its
                creators     and    their   co-conspirators.    Unlike     authentic
                cryptocurrencies, which maintain records of their investors’
                transaction history, OneCoin had no real value. It offered investors
                no method of tracing their money, and it could not be used to
                purchase anything. In fact, the only ones who stood to benefit from
                its existence were its founders and co-conspirators.

       6.       The registration requirements contained within the Securities Act are designed to

protect investors by ensuring they are provided adequate information upon which to base their

investment decisions. The two basic objectives of registration are: (i) to require that investors



1 Plaintiff’s breach/rescission of contract claim is only alleged against Defendant ONECOIN LTD.

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receive necessary financial and other significant information concerning securities being offered

for public sale; and (ii) to prohibit deceit, misrepresentations, and other fraud in the sale of

securities. Absent registration and the protections of the federal securities laws, issuers of

securities could seek to market their investment opportunities without disclosing information that

might make a potential investor think twice before investing (e.g., conflicts of interest or major

setbacks to core product lines) or peddle their securities using unbounded exaggerations regarding

the progress of their products, business plan, business strategies, or even fabricate the existence of

relationships with vendors or other business partners.

       7.       Accordingly, Plaintiff brings this action for violations of Sections 12 and 15 of the

Securities Act, breach/rescission of contract, unjust enrichment, fraudulent inducement, fraudulent

misrepresentation, negligent misrepresentation, conversion, and civil conspiracy against

Defendants for their offer and sale of investment contract securities in violation of the federal

securities laws’ registration requirements and participation in effectuating the fraudulent

Ponzi/pyramid schemes.

       8.       The ONECOIN CORPORATE Defendants’ promotional materials appeared in

press releases, ONECOIN LTD.’s website, online chat rooms or forums located on websites such

as Reddit.com (“Reddit”), white papers, postings on social media websites such as Twitter and

Facebook, promotional videos posted on YouTube, and/or other materials relating to ONECOIN

LTD. and OneCoin, which were disseminated widely to the investing public.

       9.       Due to the varied and innumerable ways in which investors can be, and are likely

to be, manipulated and harmed absent any of the protections under the federal securities laws,

Sections 5 and 12(a)(1) of the Securities Act provide for strict liability against any person who

offers or sells an unregistered security. As detailed herein, offering for purchase OneCoin trader


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packages/memberships has at all times constituted an offer and sale of unregistered securities; and

thus, the ONECOIN CORPORATE Defendants are strictly liable under Section 12(a)(1) of the

Securities Act.

        10.       Similarly, Defendants’ unlawful, immoral, and fraudulent conduct has caused, and

is continuing to cause, significant financial harm to Plaintiff and the Class (defined below).

        11.       Absent judicial intervention, Plaintiff and the Class are unlikely to ever recover

their investments. Accordingly, judicial intervention is required and requested to rectify the

existing and future harm facing Plaintiff and the Class — harm that is likely to be irreparable.

        12.       Investors in OneCoin trader packages/memberships have little to show for their

investments other than broken promises and mounting financial burdens.

        13.       For these reasons, Plaintiff on behalf of herself, and all similarly situated

individuals and entities that invested in OneCoin, seeks compensatory, exemplary, punitive,

injunctive, and rescissory relief, providing rescission and repayment of all investments into

ONECOIN LTD., and securing and conserving such funds until repayment

                                       JURISDICTION AND VENUE

        14.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question

jurisdiction) and Section 22 of the Securities Act [15 U.S.C. § 77v] because Plaintiff alleges

violations of Sections 12(a)(1) and 15(a) of the Securities Act [15 U.S.C. §§ 77l(a)(1) and 77o(a)].

        15.       The Court has personal jurisdiction over each of the Defendants because each either

conducts business in and maintains operations in this District or is an individual who either is

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction by this Court permissible under traditional notions

of fair play and substantial justice.


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       16.     Venue is proper in this District under Section 22 of the Securities Act, 15 U.S.C.

§ 77v, as well as under 28 U.S.C. § 1391, because: (a) the conduct at issue took place and had an

effect in this District; (b) a substantial portion of the transactions and wrongs complained of herein

occurred here; and (c) Defendants have received substantial compensation and other transfers of

money here by doing business here and engaging in activities having an effect in this District.

                          PARTIES AND RELEVANT NON-PARTIES

I.     Plaintiff

       17.     Plaintiff GRABLIS is an individual domiciled in Murfreesboro, Tennessee and is

sui juris. Beginning on or about August 10, 2015, Plaintiff GRABLIS funded her ONECOIN

LTD. membership by investing $15,800.00. From August 2015 through August 2016, Plaintiff

GRABLIS invested a sum total of approximately $103,500.00 in OneCoin trader

packages/memberships and/or OneCoin. As of the date of this filing, Plaintiff GRABALIS’ out-

of-pocket investment loss at ONECOIN LTD. totals approximately $130,000.00.

       18.     Plaintiff actively researched ONECOIN LTD. and OneCoin prior to making her

purchases of OneCoin trader packages/memberships and throughout the periods in which she

invested in ONECOIN LTD. Accordingly, Plaintiff was personally, and successfully, solicited by

the ONECOIN CORPORATE Defendants in connection with their public representations and

active solicitations to purchase OneCoin trader packages/memberships and OneCoins.

II.    Defendants

       A.      OneCoin Ltd.

       19.     ONECOIN LTD., founded in or about April 2014, is a foreign corporation based in

Sophia, Bulgaria, and markets a purported digital cryptocurrency called “OneCoin” through a

global multi-level marketing (“MLM”) network of OneCoin members.


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        20.       ONECOIN LTD. operates using several corporate entities and d/b/a names,

including OnePayments Ltd., OneNetwork Services Ltd., OneAcademy, and OneLife. Upon

information and belief, those entities were all created for the same fraudulent purpose, were each

operated by the same core of principals, and stand as “alter egos” of one another. As used herein,

those entities and d/b/a names shall collectively be referred to as ONECOIN LTD.

        21.       ONECOIN LTD. launched its OneCoin currency in or about September 2014 under

the OneLife Network company after being registered in Dubai and Belize. Initially, ONECOIN

LTD. branded itself as a company selling packages of educational material with cryptocurrency

tokens as a membership reward.

        22.       OneCoin members receive commissions for recruiting others to purchase

cryptocurrency packages. This multi-level marketing structure appears to have influenced rapid

growth of the OneCoin member network. Between the fourth quarter of 2014 and the third quarter

of 2016 alone, OneCoin Ltd. generated €3.353 billion in sales revenue and earned “profits” of

€2.232 billion.

        B.        Ruja Ignatova

        23.       RUJA IGNATOVA (“RUJA”) is an individual believed to be domiciled in Bulgaria

and is sui juris.

        24.       RUJA, known by many as the “CryptoQueen,” founded ONECOIN LTD. in or

about early-2014.

        25.       RUJA was integral to all aspects of ONECOIN LTD.’s operations, including its

structure, marketing, overall business strategies, and its offer and sale in the United States --

including in this District -- of investments in ONECOIN LTD.




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        26.     To promote ONECOIN LTD., RUJA organized glamorous parties, funded

international company events in Dubai, Macao, Singapore, and the UK; and, according to some

sources, even invited Tom Jones to perform at her birthday party in London.

        27.     In the year following the creation of ONECOIN LTD. and OneCoin, RUJA and her

peers bought millions of dollars’ worth of real estate across the world.

        28.     Despite being a central figure to all aspects of ONECOIN LTD., RUJA -- since in

or about October 2017 -- has made no appearances at any public ONECOIN LTD. events and has

made no public statement regarding her whereabouts. Her disappearance appears to have been

purposefully aimed at avoiding being apprehended by law enforcement officials and bearing the

burden of her wrongful acts; as she had in the past maintained a persistent online presence, using

video portals such as YouTube, social media websites, and ONECOIN LTD.’s own website.

        C.      Konstantin Ignatov

        29.     KONSTANTIN IGNATOV is an individual believed to be domiciled in Bulgaria

and is sui juris.

        30.     KONSTANTIN IGNATOV is the younger brother of RUJA IGNATOVA,

OneCoin’s founder and leader until her disappearance from public view in or about October 2017.

Upon information and belief based on publicly-available materials, KONSTANTIN IGNATOV,

starting in late-2017, assumed high-level positions at OneCoin, rising to the top leadership position

in mid-2018. Before ascending to OneCoin leadership in late-2017, KONSTANTIN IGNATOV

served as RUJA’s personal assistant and, according to some, her bodyguard.

        31.     Since December 2017, KONSTANTIN IGNATOV has functioned as a high-level

executive, promoter, and spokesperson for the OneCoin organization, appearing at OneCoin-

OneLife events worldwide, including in Thailand, Singapore, Colombia, Argentina, Brazil,


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Paraguay, Bulgaria, France, Spain, and the United States. In this role, IGNATOV has made

fraudulent representations to investors -- including those in this District -- about OneCoin’s

structure, value, usability, and future public offerings.

       32.     On or about March 6, 2019, KONSTANTIN IGNATOV was arrested at Los

Angeles International Airport and transferred by law enforcement authorities to a federal prison in

New York, where he is believed to be housed and awaiting trial in this District on criminal charges

related to his involvement with ONECOIN LTD.

       D.      Sebastian Greenwood

       33.     Defendant GREENWOOD is an individual believed to be domiciled in Sweden and

is sui juris. GREENWOOD is a co-founder of ONECOIN LTD., has been described as the “public

face of OneCoin,” served as an affiliate/recruiter for OneCoin, and solicited hundreds if not

thousands of OneCoin investors in the United States -- including those in this District -- and abroad

through social media sites and public appearances.

       34.     Defendant GREENWOOD, along with Defendant RUJA, had previously created

BigCoin in early-2014, the predecessor of OneCoin.

       35.     Upon information and belief, Defendant GREENWOOD’s expertise lied in the area

of marketing; and he was integral in devising the multi-level marketing structure of ONECOIN

LTD.’s operation as well as organizing its worldwide army of recruiters/promoters and preparing

the sales materials they used to lure investors to deposit funds with ONECOIN LTD.

       36.     Defendant GREENWOOD was arrested by the Federal Bureau of Investigation and

the Crime Suppression Division in Thailand in November 2018 and later extradited to the United

States, where he is awaiting trial on criminal charges related to his involvement with ONECOIN LTD.




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       E.      Mark Scott

       37.     Defendant SCOTT is an individual believed to be domiciled in Coral Gables,

Florida and is sui juris. SCOTT is an attorney who was a Partner at the international law firm

Locke Lord. Using his law license and legal knowledge, SCOTT formed foreign hedge funds

through which he and his fellow Defendants laundered the proceeds of the OneCoin

cryptocurrency scheme.

       38.     More specifically, SCOTT assisted RUJA and others in laundering more than

$400 million through a series of purported investment funds holding bank accounts at financial

institutions in the Cayman Islands and the Republic of Ireland, among other locations.

       39.     Defendant SCOTT was arrested in September 2018 by law enforcement authorities

and, upon information and belief, was released from a federal prison in New York on bond and is

presently under supervised house arrest with curfew restrictions while he is awaiting trial in this

District on criminal charges related to his involvement with ONECOIN LTD.

       F.      Other Liable Persons/Entities

       40.     In addition to those persons and entities set forth as Defendants herein, there are

likely other parties who may well be liable to Plaintiff and the Class (defined below), but respecting

whom Plaintiff currently lacks specific facts to permit her to name such person or persons as a

party defendant. By not naming such persons or entities at this time, Plaintiff is not waiving her

right to amend this pleading to add such parties, should the facts warrant adding such parties.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this action individually and as a class action on behalf of all

individuals and entities who transferred to ONECOIN LTD. any fiat currency or cryptocurrency

to invest in OneCoin trader packages/memberships and who suffered financial injury as a result


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thereof (the “Class”). Excluded from the Class are Defendants herein and any person, firm, trust,

corporation, or other entity related to, controlled by, or affiliated with, any Defendant, including

the immediate family members of the individual Defendants.

       42.      This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23.

       43.      While the exact number of Class members is presently unknown to Plaintiff and

can only be ascertained through discovery, Plaintiff believes that there are thousands of members

in this Class. All members of the Class may be identified by records maintained by Defendants

and may be notified of the pendency of this action by mail, using forms of notice similar to that

customarily used in securities class actions.

       44.      There are questions of law and fact which are common to the Class and which

predominate over questions affecting any individual Class member. The common questions

include, inter alia, the following: (i) whether the ONECOIN CORPORATE Defendants offered

and sold unregistered securities in violation of the federal securities laws; (ii) whether ONECOIN

LTD. breached its contracts with Plaintiff and the Class; (iii) whether the ONECOIN Defendants

fraudulently solicited investments from Plaintiff and the Class; (v) whether Defendants have been

unjustly enriched by the unlawful conduct alleged herein; (vi) whether Plaintiff and the Class will

suffer irreparable harm if such unlawful activities are not remedied; and (vii) whether Plaintiff and

the Class are entitled to compensatory, exemplary, punitive, injunctive, or rescissory relief as a

result of Defendants’ wrongful conduct alleged herein, and the measure of such damages.

       45.      Plaintiff’s claims are typical of the claims of the other members of the Class, and

Plaintiff does not have any interests adverse to the Class. Additionally, Plaintiff and the other




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members of the Class have all sustained harm in a substantially identical manner as a result of

Defendants’ wrongful conduct as alleged herein.

       46.     Plaintiff will fairly and adequately protect the interests of the Class and has retained

competent counsel experienced in litigation of this nature.

       47.     Separate actions prosecuted by individual members of the Class would create a risk

of inconsistent or varying adjudications with respect to individual members of the Class, which

could establish incompatible standards of conduct for Defendants.

       48.     Plaintiff anticipates that there will be no difficulty in managing this litigation. A

class action is superior to other available methods for the fair and efficient adjudication of this

controversy.

       49.     Defendants have acted on grounds generally applicable to the Class with respect to

the matters complained of herein, thereby making appropriate the relief sought herein with respect

to the Class as a whole.

       50.     Accordingly, Plaintiff seeks compensatory, exemplary, punitive, rescissory,

injunctive and other equitable relief on behalf of herself and the Class to prevent the irreparable

injury they will continue to suffer absent judicial intervention.

                                  SUBSTANTIVE ALLEGATIONS

I.     Background on Blockchain Technology and Initial Coin Offerings

       A.      Blockchains
       51.     A “blockchain” is essentially a digitized, decentralized, public ledger that

cryptographically records, preserves, and presents information. The general idea is that each

“block” contains information, such as details on transactions that are made. After a “block” is

created (with cryptography to verify its contents), the information inside of it cannot be changed.

The “block” then becomes part of the “blockchain,” and an encrypted version of the information
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contained therein becomes publicly available along with all the previous “blocks” in the chain.

After this process is complete, another block is created with additional information, and so on.

        52.     To date, most “blockchains” are used to record transactions involving virtual

currencies, e.g., bitcoin (BTC) and Ether (ETH). However, a “blockchain” could be used to record

all types of information. For example, a blockchain could be used for deed recordation/transfers

or even transfers of stock certificates.

        B.      Initial Coin Offerings
        53.     From the outset of the project, ONECOIN LTD.’s management claimed it was

going to list its OneCoins on a public exchange in Asia by preparing an Initial Public Offering

(“IPO”). Users were presented with the opportunity to invest in OFCs, virtual shares in the post-

IPO company. The strategy was later changed to a never-ending Initial Coin Offering (“ICO”).

        54.     An ICO is a capital raising event in which an entity offers investors a unique “coin”

or “token” in exchange for consideration -- most commonly in the form of established virtual

currencies (typically BTC and ETH) or fiat currency. These tokens are issued on a blockchain and

are oftentimes listed on online platforms, called virtual currency exchanges, where they are

tradable for virtual or fiat currencies.

        55.     To participate in an ICO, investors are typically required to transfer virtual

currencies to the issuer’s address, online wallet, or other account. During an ICO, or after its

completion, the issuer will typically distribute its unique “tokens” to the participants’ unique

address on the blockchain. Similar to stockholders in an IPO, holders of these tokens are then

entitled to certain rights related to a venture underlying the ICO, such as profits, shares of assets,

use of certain services provided by the issuer, and/or voting rights.




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II.    Background on OneCoin Ltd.

       A.      OneCoin Ltd.’s Formation and Creation of OneCoin Currency

       56.     ONECOIN LTD. was founded in or about April 2014 and promoted that

investments in its ecosystem served a variety of altruistic purposes including education, charity,

and community, to wit:




       57.     Contrary to those representations, investments in ONECOIN LTD. did none

of those things.

       58.     ONECOIN LTD. promoted various different “trader packages” priced at, for

example, €110 and €118,100 euros, including “Starter” packages and “Tycoon Trader,” “Premium

Trader,” “Infinity Trader,” and “Ultimate Trader” packages. Purchase of a trader package provides

access to “educational materials” and “tokens.”




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       59.     The “educational materials,” as it turned out, consisted mostly of information

copied from Wikipedia and other free informational sources.

       60.     Moreover, an investor who purchased the educational materials and “tokens” did

not directly receive OneCoins; rather, the investor had to submit his/her “tokens” for mining of

OneCoins. 2




2 In the context of a legitimate cryptocurrency, “mining” refers to the process of adding carefully
reviewed transaction records to the cryptocurrency’s ledger of past transactions, i.e., the
“blockchain.” The primary purpose of mining is to allow the cryptocurrency’s nodes to reach a
secure, tamper-resistant consensus. Mining is also the mechanism used to introduce
cryptocurrency “coins” into the system. “Miners” are paid any transaction fees as well as a subsidy
of newly created coins. This both serves the purpose of disseminating new coins in a decentralized
manner, as well as motivating miners to provide security for the system.
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       61.    According to ONECOIN LTD.’s promotional materials, “tokens” are used to secure

positions in ONECOIN’s “mining pools,” depicted in promotional materials as computer hardware

used to “mine” OneCoins.




       62.    Promotional materials also have claimed that ONECOIN LTD. “ensures” these

mining resources, that two mining servers are located in Bulgaria, and that a third mining server

is located in Hong Kong.

       63.    Consistent with other cryptocurrencies such as bitcoin, ONECOIN LTD.’s

promotional materials claim that the mining difficulty of OneCoin increases over time, as

additional computer resources, and thus more tokens, are needed to mine a single OneCoin -- thus

also increasing the value of each OneCoin.




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       64.    Once a OneCoin member “mines” OneCoins using his or her tokens, the resulting

OneCoins are deposited into the member’s account and may be accessed by logging in through a

website operated by ONECOIN LTD.

       65.    There were, however, no mining farms; and no mining of OneCoins ever

occurred. The company simply created new OneCoins at will without adhering to any of the

actual principles of blockchain technology.

       66.    In fact, from its inception, ONECOIN LTD.’s goal was to deceive its investors with

false representations of “mining” that were never intended to occur, as these e-mail exchanged

between RUJA and GREENWOOD reveal:

              [RUJA]: Get members to think that they are mining their OneCoin
              via crunching (exchanging) tokens for OneCoin.

              This storey [sic] is good as ppl will then not go super crazy and just
              try to sell tokens all the time.
                                *                   *                  *
              [GREENWOOD]: The concept of converting tokens into OneCoin
              is an important phase for validity and truth behind the OneCoin.



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               The so called ‘mining’ of coins is a concept that is very familiar in
               the industry and a story we can sell to the members.
                                 *                   *                  *
               [RUJA]: We are not mining actually – but telling people sh[*]t.

       67.     ONECOIN LTD. has further claimed that the value of OneCoin is based on market

supply and demand. In or about June 2016, in a OneCoin promotional video posted on YouTube,

RUJA stated:

               We discussed several times how the value of cryptocurrency comes.
               Cryptocurrency is not backed up. It is an asset where demand and
               supply drive the price. Now, one of the drivers of the coin is, of
               course, the brand. Brand, of course, is how many people know about
               OneCoin? How many people use OneCoin? How spread are we
               worldwide?

       68.     An official press release issued by ONECOIN LTD. on or about October 1, 2016,

announcing a so-called OneCoin “split,” stated in part: “Cryptocurrency value is driven by supply

and demand - and demand is driven by brand and usability. By doubling the coins, we will be able

to bring the coin to more people and places and strengthen the brand.” Another press release,

issued by ONECOIN LTD. on or about December 2, 2016, stated in part: “The value of each

cryptocurrency depends on its usability, supply and demand. With over 2.7 million users, OneCoin

has one of the biggest user bases.”

       69.     The purported value of a OneCoin steadily grew from €0.50 ($0.56 USD) to

approximately €29.95 ($33.60 USD) per coin, as of in or about January 2019.

       70.     ONECOIN LTD. has claimed to have a private “blockchain” -- a digital ledger

identifying OneCoins and recording historical transactions. ONECOIN LTD.’s private blockchain

may be contrasted with bitcoin’s blockchain, which is decentralized and public.

       71.     At a promotional event in Dubai on or about May 15, 2015, RUJA represented that

the OneCoin blockchain was audited, stating, in part:

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              We all know it is a very bad world outside. So many people making
              promises. So many people lying. So many people doing things and
              not delivering. So, what we did in the last months is we hired an
              auditor to audit our blockchain. And, ah, I am very proud to say that
              the result of the first audit is here.

RUJA then introduced the alleged auditor of the OneCoin blockchain. The auditor subsequently

provided an opinion that “all transactions are included in the blockchain (no coins are mined

outside the blockchain).”

       72.    Contrary to those allegations, though, ONECOIN LTD. had no such blockchain.

Instead, ONECOIN LTD. simply used a basic computer SQL script to generate coins.

       73.    As GREENWOOD himself confessed in an e-mail he sent to RUJA:

              [GREENWOOD]: How can this be investigated and found out?
                 Can any member (trying to be clever) find out that we actually
              are not investing in machines to mine but it is merely a piece of
              software doing this for us?

       74.    Moreover, ONECOIN LTD. principals themselves pre-determined what the

value of OneCoins would be, without regard to “market supply and demand.”

       75.    Again, e-mails exchanged in 2015 between RUJA and GREENWOOD reveal the

truth behind ONECOIN LTD.’s lies:

              [RUJA]: Goals:

              6. Trading coin, stable exchange, always close on a high price end
              of day open day with high price, build confidence – better
              manipulation so they (investors) are happy.
                                  *                   *                  *
              [RUJA]: We can manipulate the exchange by simulating some
              volatility and intraday pricing [sic].

       76.    As noted above, ONECOIN LTD. operates a multi-level marketing structure

through which individuals are compensated for recruiting new members who purchase OneCoin

trader packages.

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       77.     OneCoin members receive a commission of between 10% and 25% of the value of

the trader packages purchased by individuals they recruit to OneCoin. However, only 60% of

commissions paid to members are withdrawable in cash; the remaining 40% are deposited in a

“trading account” which may only be used to purchase either OneCoins or more tokens.

       78.     ONECOIN LTD.’s multi-level marketing structure appears to have influenced

rapid growth in the number of OneCoin members. ONECOIN LTD. has claimed to have over

three million members worldwide. These OneCoin members include individuals living and/or

working within the Southern District of New York who have purchased OneCoin trader packages,

at least one of whom sent an interstate wire payment to make such a purchase.

       79.     Throughout the years, there were many ways to profit from OneCoin, as per

ONECOIN LTD.’s official announcements and company events. Some of them included the

OneCoin asset platform called xCoinx, which was meant to be used as an exchange where users

could buy and sell their coins for assets and eventually cash out.

       80.     The xCoinx platform was abandoned in 2017 and was followed by a purported

merchant platform called “Dealshaker,” which ONECOIN LTD. asserted could be used by

members to buy and sell real-life assets using OneCoins.

       81.     As represented by ONECOIN LTD., OneCoin members visiting Dealshaker may

use OneCoins, generally in combination with fiat currency, to purchase goods and services on the

Dealshaker platform.

       82.     According to a Dealshaker webinar video, posted on YouTube in or about

November 2018, a Dealshaker representative announced the unveiling of a “new Dealshaker” and

stated, among other things, that: (i) Dealshaker merchants would be allowed to accept as little as

10% of payment for goods and services in OneCoin (and thus, as much as 90% in fiat currency),


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as opposed to the previous minimum of 50%; and (ii) buyers on the new Dealshaker may use

PayPal to transmit fiat currency for purchases from Dealshaker merchants.

       83.    The Dealshaker platform, much like the rest of ONECOIN LTD.’s operation, was

merely another tool used by ONECOIN LTD. to reap fiat currency from unsuspecting investors.

       84.    Despite having been banned in numerous countries, ONECOIN LTD. continues to

operate to this day; and as described further below, is now under the management of

KONSTANTIN IGNATOV.

       B.     Ruja’s Disappearance and Konstantin’s Rise to Authority

       85.    As noted above, KONSTANTIN IGNATOV is the brother of ONECOIN LTD.

founder and “CryptoQueen” RUJA IGNATOVA.

       86.    In a publicly-available video published on YouTube on or about December 17, 2016,

KONSTANTIN IGNATOV is introduced as the “Head of Administration of OneLife.”

       87.    Upon RUJA’s disappearance from public view in or about late-2017,

KONSTANTIN IGNATOV took on a larger, high-level role managing ONECOIN LTD’s affairs.

       88.    Since December 2017, KONSTANTIN IGNATOV has appeared at OneCoin-

OneLife events worldwide, including in Thailand, Singapore, Colombia, Argentina, Brazil,

Paraguay, Bulgaria, France, Spain, and the United States. During this time, he has functioned as

a high-level executive and spokesperson for the OneCoin organization.

       89.    Based on social media platform postings, KONSTANTIN IGNATOV appears to

be using a Facebook account under the profile name “Konsti Keks” and an Instagram account

under the profile name “Konstantin.Ignatov_”. The Konsti Keks Facebook account and the

Konstantin.Ignatov_ Instagram account contain photographs of IGNATOV and references to

OneCoin-OneLife events.


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       90.     During his appearances at OneCoin-OneLife events, and in publicly-posted online

videos connected to those events, KONSTANTIN IGNATOV presents himself as the leader of

and spokesperson for OneCoin and a proxy for his sister, RUJA.

       91.     In those public appearances, KONSTANTIN IGNATOV has routinely and

repeatedly made misrepresentations to investors about OneCoin’s structure, value, usability, and

future public offering.

       C.      OneCoin Promotions in the United States

       92.     Upon information and belief, ONECOIN LTD. began soliciting investors in the

United States in or about July 2015 with an “official launch party” in cities all across the country:




       93.     In connection with ONECOIN LTD.’s operations, the company operated a referral

program pursuant to which “affiliates”/promoters would earn additional income for referring

additional investors to invest in ONECOIN LTD. The referral program was a run-of-the-mill

pyramid scheme.

       94.     Upon information and belief, the following individuals are/were among the top

ONECOIN LTD. “affiliates”/promoters in the United States:

               (a)        Tom McMurrain
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    (b)     Denis Murdock
    (c)     Sal Leto
    (d)     Bob Byrum
    (e)     Carl Wilt
    (f)     Greg Knox
    (g)     Margie Scott
    (h)     Maurice Katz
    (i)     Steve Gotberg
    (j)     Kevin Foster
    (k)     Sarah McGee
    (l)     Glenn Smith
    (m)     Ken Labine – Canada – recruits in USA
    (n)     Sheri Hilliard-Pearce
    (o)     Jason Richard Mangan
    (p)     Charlotte Mangan
    (q)     Joseph W. Piper
    (r)     Jodi Tressler Greene
    (s)     Keith Bliss
    (t)     Stan Harris
    (u)     Mike DiGaetano
    (v)     Michael & Latasha DeArmond
    (w)     Jeff Shofner
    (x)     John Reilly
    (y)     Ray Lopez
    (z)     Willie Tubbs
    (aa)    Mary Spicer
    (bb)    Kaytee Godiva
    (cc)    Brent Patrick
    (dd)    Beverly Washington
    (ee)    Sandy Davis
    (ff)    Tory Bailey
    (gg)    Mark Halbig
    (hh)    Erik Enriquez
    (ii)    Jack Palis
    (jj)    Patricia Ann
    (kk)    Jeff Litzenberger
    (ll)    Barbara Lloyd
    (mm)    Lucille Bolton Shannon
    (nn)    Alan C. Delaney
    (oo)    Andy McCormack
    (pp)    Joseph A Mitchell
    (qq)    Rick Harris
    (rr)    Katherine Clement
    (ss)    Erick Brent
    (tt)    Ellis Vernon
    (uu)    Dean Hackney

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               (vv)      Tom Cao
               (ww)      Robert Townsend
               (xx)      Crystal Marie Spath
               (yy)      Belinda Aquino
               (zz)      Susan Bayerle
               (aaa)     Jennifer Vloggity-Korol
               (bbb)     Wayne Bailey
               (ccc)     Shanna McCarty
               (ddd)     Robin ‘Robertson’ Keith
               (eee)     Steve Stucke
               (fff)     John Reilly
               (ggg)     Richard Marks

       95.     Plaintiff GRABLIS herself met on multiple occasions with Sal Leto, Bob Byrum,

Carl Wilt, Greg Knox, and Margie Scott, who each acted as representatives of ONECOIN LTD.

in brokering the purchase/sale to Plaintiff GRABLIS of the OneCoin trader packages/memberships

in which she invested.

       96.     Among        the     ways      ONECOIN           LTD.       promoted        its    investments,   the

“affiliates”/promoters used social media channels such as YouTube, Facebook, and Twitter to raise

awareness and interest in investing in ONECOIN LTD.

       97.     In addition, ONECOIN LTD. hosted numerous promotional and organizational

events in the United States to further expand the reach of the investment program.

       98.     For example, on or about February 27, 2019, KONSTANTIN IGNATOV arrived at

San Francisco International Airport (“SFO”) on an international flight from Istanbul, Turkey. While

being detained at the airport by law enforcement officials, it was determined that KONSTANTIN

IGNATOV was in the United States to attend a OneCoin event in Las Vegas, Nevada.

       99.     According to law enforcement officials who investigated KONSTANTIN

IGNATOV’s cellphone and laptop computer, KONSTANTIN IGNATOV -- in the lead-up to his

trip to the United States -- had discussed with a OneCoin affiliate promoter the logistics of his trip.



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       100.      Specifically, the OneCoin promoter wrote to KONSTANTIN IGNATOV:

                 [I]n Las Vegas, 14:00 - 18:00h .. at least 20+ top selected leaders
                 ([from many] cities in USA) there for the meeting/DS training and
                 love to have you with us 30-60 minutes. Will be inside our Bellagio
                 Hotel-Suite or Pen[t]house. . If you can meet any time between
                 17:00-20:00h on either 4 or 5 of March, I will arrange another
                 group.

IGNATOV responded, “Yes let’s do this!”

       101.      In that same exchange, the OneCoin promoter wrote to KONSTANTIN IGNATOV:

                 Send you again the proposed meeting schedule for next 02 days.
                 Also, do not need mention dr. Ruja.

Upon information and belief, the reference to “Dr. Ruja” was a reference to RUJA IGNATOVA.

       102.      In the days immediately following KONSTANTIN IGNATOV’s arrival in San

Francisco, California, several social media messages were posted suggesting that his trip to the

United States was for the purpose of conducting ONECOIN LTD. business, including the

following:

             (a) On or about March 5, 2019, KONSTANTIN IGNATOV posted a photo
                 of himself in front of a sign that appears to be in Las Vegas on his
                 Instagram account page (“Ignatov’ s Instagram Account”). In a comment
                 on that Instagram post, KONSTANTIN IGNATOV wrote: “[I] am here
                 for work reasons not holiday”;

             (b) Between on or about March 1, 2019, and March 3, 2019, three videos
                 were posted on YouTube that all appear to be from a OneCoin
                 promotional/networking event that took place in Las Vegas, Nevada (the
                 “OneCoin Event”);

             (c) One YouTube video is titled “Meeting in Las Vegas with Mr.
                 Konstantin.” The description of the video details a meeting in Las Vegas
                 with KONSTANTIN IGNATOV, three OneCoin affiliates, and key
                 American-based OneLife Network leaders consisting of Black, Blue, and
                 Diamond members discussing future possible Dealshaker development in
                 the United States;

             (d) Another YouTube video shows a series of photographs captured during
                 the OneCoin Event in Las Vegas, Nevada, including:


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                1. An image of KONSTANTIN IGNATOV wearing a blue shirt with
                   the name “OneCoin” written on the front of the shirt;

                2. Several photographs of KONSTANTIN IGNATOV with U.S.-based
                   OneCoin affiliates; and

                3. An image of a whiteboard titled “OneLife Network/Dealshaker” and
                   which includes, among other things, a schedule listing
                   OneCoin/OneLife Network events.

            (e) A third YouTube video showing a series of photographs captured during
                the OneCoin Event in Las Vegas, Nevada, including a photo of
                KONSTANTIN IGNATOV holding up two framed portraits: one of
                himself, and one of RUJA; and

            (f) A Facebook post dated March 5, 2019 in which the Facebook user wrote:
                “During a meeting that just took place in Las Vegas, one of the first
                questions was, when can people monetize their coins (cash out).
                Konstantin said immediately ‘[I]f you are here to cash out, leave this
                room now; because you don’t understand what this project is about.’”

       103.     On March 6, 2019, as KONSTANTIN IGNATOV was seeking to exit the United

States, he was arrested by the U.S. Federal Bureau of Investigation at Los Angeles International

Airport, taken into custody, and charged by the U.S. Attorney’s Office for the Southern District of

New York with wire fraud, securities fraud, and money laundering offenses for his management

of, and involvement with, ONECOIN LTD.

III.   The OneCoin Investments Were Ponzi Schemes and Securities

       A.       The OneCoin Defendants Operated a Ponzi Scheme
       104.     Contrary to the allegations of fantastic investment returns through the power of

ONECOIN LTD.’s mining processes and the “market demand” for OneCoins, the ONECOIN

CORPORATE Defendants were actually operating a Ponzi scheme.

       105.     Any investment returns provided to ONECOIN LTD. investors were not

legitimately generated; rather, ONECOIN LTD. simply used new ONECOIN LTD. investors’

money to pay the promised returns on outstanding ONECOIN LTD. investors’ investments.


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       106.     In addition, ONECOIN LTD. used new ONECOIN LTD. investors’ funds to pay

the ONECOIN LTD. directors and affiliates -- including, but not limited to, Defendants RUJA,

KONSTANTIN IGNATOV, and GREENWOOD -- salary and commissions for their role in

bringing additional victims into the scheme.

       107.     The reality is, ONECOIN LTD. was not offering a revolutionary technology, but

was instead selling a new take on a century-old scam. Specifically, ONECOIN LTD. used

cryptocurrency to coat its Ponzi/pyramid scheme with the thinnest veneer of legitimacy. Despite

such efforts, it is abundantly clear that the ONECOIN CORPORATE Defendants were conducting

and/or supporting a Ponzi/pyramid scheme. Indeed, the ONECOIN LTD. investment program

exhibits numerous characteristics of such schemes, including:

            (a) providing exorbitant returns on an investment that had no income other
                than new investor money;

            (b) artificially increasing the value of its cryptocurrency by having new
                investors in the Ponzi scheme purchase trading packages/memberships to
                invest;

            (c) self-ascribing value to the Ponzi scheme investments rather than having
                those investment values dictated by actual market demand; and

            (d) expanding the amount of people in this Ponzi scheme by implementing a
                Pyramid scheme that paid a commission several levels deep for recruits.

       B.       OneCoin     Trader    Packages/Memberships                            and       OneCoins   were
                Investment Contract Securities

       108.     This Action alleges claims under Sections 12(a)(1) and 15(a) of the Securities Act

[15 U.S.C. §§ 77l(a)(1) and 77o(a)], and are based solely on allegations of strict liability.

       109.     OneCoin trader packages/memberships and OneCoins were not registered with the

Securities and Exchange Commission (“SEC”); and thus, the ONECOIN CORPORATE

Defendants engaged in the offer and sale of unregistered securities.



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       110.    Under the Securities Act, a “security” is defined as including any “note,”

“investment contract,” or “instrument commonly known as a ‘security.’” See 15 U.S.C. §§ 77b(a)(1).

Here, the OneCoins and the OneCoin trader packages/memberships each constitute an investment

contract. In SEC v. W.J. Howey Co., the United States Supreme Court established a three-part test to

determine whether an offering, contract, transaction, or scheme constitutes an investment

contract. 3 Under the test articulated in Howey, a contract, transaction, or scheme is an “investment

contract” if it involves: (i) the investment of money; (ii) in a common enterprise; (iii) with the

expectation of profits to come solely from the efforts of others.

       111.    When determining whether a security has been offered and sold, the focus must be

on the economic realities underlying the transaction. Here, the economic realities are that Plaintiff

and the Class invested funds in trader packages/memberships to obtain OneCoins -- which they

expected would lead to “financial freedom” and “guaranteed” lucrative returns. Investors in the

ONECOIN LTD. trader packages/memberships used cryptocurrency or fiat currency to purchase

the trader packages/memberships required to obtain their OneCoins. Accordingly, Plaintiff’s and

the Class’ investment of cryptocurrency or fiat currency constitutes an investment of money for

the purposes of determining whether an investment involved a security.

       112.    Plaintiff and the Class were investing in a common enterprise with the ONECOIN

CORPORATE Defendants, as the cryptocurrency and fiat currency were pooled under the control

of Defendant ONECOIN LTD., and the success of the investments -- and thus potential profits

stemming from the future valuation of the OneCoins -- was entirely reliant on the ONECOIN



3       See SEC v. W.J. Howey, Co., 328 U.S. 293 (1946); see also Intern. Bhd. of Teamsters v.
Daniel, 421 U.S. 837, 852 (1979) (noting that the Howey test is not the only test for determining a
security, but has been held to embody “all the attributes that run through all of the Court’s decisions
defining a security”).
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CORPORATE Defendants’ actions, primarily ONECOIN LTD.’s alleged implementation of its

mining processes, which ONECOIN LTD. claimed would produce returns sufficient to cover

interest payments to the OneCoin membership holders and investors.

        113.    In short, it is indisputable that the ONECOIN CORPORATE Defendants were

selling investment contracts and that any success from ONECOIN LTD.’s implementation of its

supposed mining pools – enabling payment of the interests and bonuses that were to be distributed

– as well as any future potential increases to the value of the OneCoins were entirely dependent

on the ONECOIN CORPORATE Defendants’ actions.

        C.      The OneCoin Corporate Defendants Were “Sellers” Under the Federal
                Securities Laws

        114.    Liability for selling unregistered securities extends to “the person who successfully

solicits the purchase [of an unregistered security], motivated at least in part by a desire to serve his

own financial interests or those of the securities owner.” Pinter v. Dahl, 486 U.S. 622, 643 (1988).

        115.    As noted above, Plaintiff and the Class were actively involved in researching

ONECOIN LTD. and the OneCoin trader packages/memberships prior to investing with

ONECOIN LTD. Such research included reviewing virtual currency online forums, reading

ONECOIN LTD.’s publications, and viewing its promotional videos. Accordingly, each of the

solicitations outlined below were successful in soliciting Plaintiff and the Class to invest with

ONECOIN LTD.

        116.    Each of the ONECOIN CORPORATE Defendants are considered “sellers,” as each

successfully solicited investments in OneCoin trader packages/memberships and/or OneCoins for

their own or ONECOIN LTD.’s financial benefit.

        117.    It is indisputable that the ONECOIN CORPORATE Defendants participated in the

offer and sale of trader packages/memberships required to obtain OneCoins. More specifically,

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ONECOIN LTD. -- as the direct issuer of OneCoins and the creator, and host, of the trader

packages/memberships required to obtain those OneCoins -- directly offered and sold such

investment contract securities.              Defendants RUJA, KONSTANTIN IGNATOV, and

GREENWOOD -- as directors and principals of ONECOIN LTD. -- controlled its actions and are

thus equally deemed “sellers.”

        118.    Based on the foregoing, each of the ONECOIN CORPORATE Defendants were

“sellers” of unregistered securities (in the form of OneCoins and the trader packages/memberships

required to obtain those OneCoins) under the federal securities laws.

IV.     Defendants Laundered Their Ill-Gotten Investment Funds

        119.    While defrauding investors out of their investment funds, the ONECOIN

CORPORATE Defendants, along with Defendant SCOTT, actively laundered ONECOIN LTD.’s

ill-gotten investor treasury.

        120.    Defendants acted together through an intricate web of shell companies to launder

ONECOIN LTD. investor funds and to conceal and disguise the nature, location, source,

ownership, and control of the proceeds they had obtained through their illegal activities.

        121.    For example, SCOTT created the following entities, among others, to funnel

investor funds that were supposed to have been used for “mining” the purported OneCoins:

           (a) MSS International Consultants, a British Virgin Islands entity, 4

           (b) 133 Sunset Lane Acquisition Limited,

           (c) MSSI 31 Dale Avenue Property Group LLC,

           (d) DRP Holdings, Ltd.,

           (e) MSS Marine Group, Ltd.,



4 “MSS” are the initials of Mark S. Scott.

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          (f) EGD Investment, Ltd.,

          (g) Mumbelli Group Holding (Cayman), Ltd., and

          (h) HFT Holding Limited

       122.     One of those entities (133 Sunset Lane Acquisition Limited) was used to purchase

a $2.85 million Massachusetts mansion in which SCOTT and his wife lived.

       123.     Another of the entities (MSSI 31 Dale Avenue Property Group LLC) was used to

purchase a $3.7 million mansion in Hyannis Port, Massachusetts.

       124.     According to public records, SCOTT worked with the ONECOIN CORPORATE

Defendants to launder more than $400 million through a series of purported investment funds

holding bank accounts at financial institutions in the Cayman Islands and the Republic of Ireland,

among other locations.

       125.     Upon information and belief, several hundred million more dollars -- if not billions

of dollars -- have likewise been laundered by Defendants.

V.     Defendants Led Class Members to Incur Substantial Losses

       126.     While the SEC has yet to involve itself – at least publicly – in the present matter,

many regulators around the world have displayed no such hesitancy.

       127.     By late-2017, it was apparent that ONECOIN LTD.’s investment program was a

Ponzi scheme.

       128.     Regulatory and law enforcement authorities in China, the United Kingdom, Ireland,

Canada, Italy, Germany, India, the Ukraine, Bulgaria, Austria, Belgium, Thailand, Vietnam,

Samoa, and Uganda have either barred ONECOIN LTD. from offering its investments in their

territories or have issued warnings to its residents that ONECOIN LTD. is a fraudulent investment

scam to be avoided.



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       129.    Moreover, as noted above, RUJA, KONSTANTIN IGNATOV, and SCOTT have

each been indicted by grand juries in this District; and all three individuals are awaiting trial on

charges related to their involvement with ONECOIN LTD. Defendant GREENWOOD has also

been arrested and extradited to the United States, though the status of criminal prosecution against

him is presently unknown.

       130.    As a result of Defendants’ fraudulent and misleading activities -- as well as their

violation of multiple securities laws -- Plaintiff and the Class have suffered damages believed to

be greater than $4 billion.

VI.    Necessity for Judicial Intervention

       131.    In 2013, the SEC issued an investor alert on “Ponzi Schemes Using Virtual

Currencies,” warning investors to be wary of investment opportunities offering “high investment

returns with little or no risk” and explaining that “Ponzi schemes typically involve investments

that have not been registered with the SEC or with state securities regulators.” Here, the

ONECOIN CORPORATE Defendants have conducted and propagated precisely such a scheme.

       132.    On July 25, 2017, the SEC issued a report on “the DAO,” which offered tokens for

sale online, in which the SEC advised those using “distributed ledger or blockchain-enabled means

for capital raising to take appropriate steps to ensure compliance” with the federal securities laws,

and stated that “[a]ll securities offered and sold in the United States must be registered with the

Commission . . .” or qualify for an exemption from registration. On the same day, the SEC issued

an investor bulletin urging caution when investing in ICOs and urging investors to be mindful that

promoters and initial sellers that lead buyers of tokens to expect a return on their investment or

participate in shared returns provided by the project may be offering a security for sale.

       133.    Virtual currencies are a relatively new phenomenon, and numerous individuals and

entities -- by engaging in unlawful conduct with near impunity -- are taking advantage of the time
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it takes for regulatory agencies to address new investment developments, as the ONECOIN

CORPORATE Defendants have here by raising billions of dollars with promises of profits to be

made from investing in OneCoin trader packages/memberships and/or OneCoins.

        134.    It is clear from recent events that the rampant disregard of state and federal

securities laws and consequently, abuse of investors, taking place in connection with ONECOIN

LTD.’s unlawful and fraudulent conduct has been noted by state and federal regulatory agencies.

        135.    While OneCoin trader packages/memberships and/or OneCoins plainly constitute

investment contract securities, at no time was a registration statement ever filed or in effect with

the SEC for the securities being offered. As such, the unlawful, unregistered offering of securities

by the ONECOIN CORPORATE Defendants to Plaintiff and the Class violated Sections 5,

12(a)(1) and 15(a) of the Securities Act; and the private right of action provided by Section 12(a)(1)

of the Securities Act, created for just this type of situation, provides strict liability for the

ONECOIN CORPORATE Defendants’ sale of such unregistered securities.

        136.    Plaintiff has duly performed all of her duties and obligations, and any conditions

precedent to Plaintiff bringing this action have occurred, have been performed, or else have been

excused or waived.

        137.    To enforce their rights and those of the Class, Plaintiff has retained undersigned

counsel and is obligated to pay counsel a reasonable fee for its services, for which Defendants are

liable as a result of their bad faith and otherwise.




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        COUNT I - VIOLATION OF SECTION 12(a) OF THE SECURITIES ACT
                   [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 – 137 above, and further alleges:

       138.    Section 12(a)(1) grants Plaintiff a private right of action against any person who

offers or sells a security in violation of Section 5, and states that such person,

           Shall be liable . . . to the person purchasing such security from him, who may
           sue either at law or in equity in any court of competent jurisdiction, to recover
           the consideration for such security with interest thereon, less the amount of
           any income received thereon, upon the tender of such security, or for damages
           if he no longer owns the security.

       139.    From April 2014 through and including the present, in connection with the offer

and sale of OneCoin trader packages/memberships and/or OneCoins, the ONECOIN

CORPORATE Defendants unlawfully made use of means or instruments of transportation or

communication in interstate commerce or of the mails for the purposes of offering, selling, or

delivering unregistered securities in direct violation of the Securities Act.

       140.    The offer and sale of OneCoins and solicitation of investments in the OneCoin

trader packages/memberships constituted the offer and sale of unregistered securities under

controlling federal law. OneCoin trader packages/memberships and/or OneCoins exhibit the

following particular hallmarks of a security under the Howey test: (a) to receive any OneCoins

(and invest in the OneCoin trader packages/memberships), an investment of money, in the form of

fiat currency and/or cryptocurrency was required; (b) the investment of money was made into the

common enterprise that is Defendant ONECOIN LTD. and its ability to provide returns using its

“mining pools” or otherwise; and (c) the success of the investment opportunities and any potential

returns thereon were entirely reliant on the ONECOIN CORPORATE Defendants’ ability to

continuously provide such returns to investors.



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       141.    Each of the individual ONECOIN CORPORATE Defendants constitute “seller[s]”

under the Securities Act and are thus equally liable for selling unregistered securities in connection

with ONECOIN LTD.

       142.    The ONECOIN CORPORATE Defendants created and maintained ONECOIN

LTD. and profited handsomely from investments in the OneCoin trader packages/memberships

and/or OneCoins.

       143.    As such, the ONECOIN CORPORATE Defendants have participated in the offer

and sale of unregistered securities in violation of the Securities Act, and are liable to Plaintiff and

the Class for rescission and/or compensatory damages.

        COUNT II - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                       [AGAINST DEFENDANT RUJA IGNATOVA]

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 – 137 above, and further alleges:

       144.    Due to her ownership in and/or control over ONECOIN LTD.’s organization,

Defendant RUJA acted as controlling person of ONECOIN LTD. within the meaning of Section

15(a) of the Securities Act as alleged herein.

       145.    By virtue of her top-level executive and controlling person positions as a behind

the scenes owner/developer and/or based on her awareness of Defendant ONECOIN LTD.’s

operations, Defendant RUJA had the power to influence and control and did influence and control,

directly or indirectly, the decision making relating to the OneCoin trader packages/memberships

and/or OneCoins, including the decision to engage in the sale of unregistered securities in

furtherance thereof.

       146.    Defendant RUJA is a culpable participant in the fraudulent scheme described herein

and caused ONECOIN LTD. to engage in the acts and omissions described herein.



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       147.    Accordingly, Defendant RUJA is liable to Plaintiff and the Class as a control person

of Defendant ONECOIN LTD. under Section 15(a) of the Securities Act.

       COUNT III - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                     [AGAINST DEFENDANT KONSTANTIN IGNATOV]

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 – 137 above, and further alleges:

       148.    Due to his ownership in and/or control over ONECOIN LTD.’s organization,

Defendant KONSTANTIN IGNATOV acted as controlling person of ONECOIN LTD. within the

meaning of Section 15(a) of the Securities Act as alleged herein.

       149.    By virtue of his top-level executive and controlling person positions as a behind the

scenes owner/developer and/or based on his awareness of Defendant ONECOIN LTD.’s

operations, Defendant KONSTANTIN IGNATOV had the power to influence and control and did

influence and control, directly or indirectly, the decision making relating to the OneCoin trader

packages/memberships and/or OneCoins, including the decision to engage in the sale of

unregistered securities in furtherance thereof.

       150.    Defendant KONSTANTIN IGNATOV is a culpable participant in the fraudulent

scheme described herein and caused ONECOIN LTD. to engage in the acts and omissions

described herein.

       151.    Accordingly, Defendant KONSTANTIN IGNATOV is liable to Plaintiff and the

Class as a control person of Defendant ONECOIN LTD. under Section 15(a) of the Securities Act.

       COUNT IV - VIOLATION OF SECTION 15(a) OF THE SECURITIES ACT
                   [AGAINST DEFENDANT SEBASTIAN GREENWOOD]

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 – 137 above, and further alleges:

       152.    Due to his ownership in and/or control over ONECOIN LTD.’s organization,

Defendant GREENWOOD acted as controlling person of ONECOIN LTD. within the meaning of

Section 15(a) of the Securities Act as alleged herein.
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          153.    By virtue of his top-level executive and controlling person positions as a behind the

scenes owner/developer and/or based on his awareness of Defendant ONECOIN LTD.’s

operations, Defendant GREENWOOD had the power to influence and control and did influence

and control, directly or indirectly, the decision making relating to the OneCoin trader

packages/memberships and/or OneCoins, including the decision to engage in the sale of

unregistered securities in furtherance thereof.

          154.    Defendant GREENWOOD is a culpable participant in the fraudulent scheme

described herein and caused ONECOIN LTD. to engage in the acts and omissions described

herein.

          155.    Accordingly, Defendant GREENWOOD is liable to Plaintiff and the Class as a

control person of Defendant ONECOIN LTD. under Section 15(a) of the Securities Act.

                                COUNT V - BREACH OF CONTRACT
                                 [AGAINST DEFENDANT ONECOIN LTD.]

          Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 – 137 above, and further alleges:

          156.    The terms of the OneCoin trader packages/memberships constitute a contract

between: (1) Plaintiff and the Class Members, and (2) ONECOIN LTD.

          157.    The contract was entered into by and between ONECOIN LTD. and each Class

Member between April 2014 and May 6, 2019.

          158.    The terms of the OneCoin trader packages/memberships called for an investment

of fiat currency or cryptocurrency by Plaintiff and the Class Members.

          159.    The funds paid by Plaintiff and the Class Members pursuant to the OneCoin trader

packages/memberships were pooled by ONECOIN LTD. in an effort by ONECOIN LTD. to

secure a profit for itself and the investors. As a result, the investors, including Plaintiff and the

Class, shared in the risks and benefits of the investment.

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       160.    Plaintiff and the Class Members relied on, and are dependent upon, the expertise

and efforts of ONECOIN LTD. for their investment returns.

       161.    The terms of the OneCoin trader packages/memberships constitute an investment

contract and are therefore subject to federal and state securities laws, including the registration

requirements promulgated thereunder.

       162.    ONECOIN LTD. breached its contracts with Plaintiff and the Class by failing to

provide any actual mining efforts, cryptocurrency, and returns on the initial investments pursuant

to the terms of the OneCoin trader packages/memberships. Rather than adhere to the express,

unequivocal terms of the contracts, ONECOIN LTD. converted Plaintiff’s and the Class’

investments into near worthless OneCoin trader packages/memberships and/or OneCoins.

       163.    Moreover, no registration statement was filed or in effect with any federal or state

regulatory body, and no exemption from registration exists with respect to the OneCoin trader

packages/memberships.

       164.    By virtue of the foregoing, ONECOIN LTD. is liable to Plaintiff and the Class for

damages resulting from ONECOIN LTD.’s breaches of contract.

       165.    To the extent that Plaintiff has received from ONECOIN LTD. any benefits through

the contract -- though none are known to them at this time -- Plaintiff hereby offers to restore to

ONECOIN LTD. those benefits, once they are identified and can be quantified.

                          COUNT VI - UNJUST ENRICHMENT
                      [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       166.    The ONECOIN CORPORATE Defendants have reaped the benefits of operating

and/or personally benefiting from inducing Plaintiff and the Class to invest in fraudulent



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Ponzi/pyramid schemes (OneCoin trader packages/memberships and/or OneCoins), thereby

causing actual harm to thousands of investors.

       167.    It would be unconscionable and against the fundamental principles of justice,

equity, and good conscience for the ONECOIN CORPORATE Defendants to retain the substantial

monetary benefits they have received as a result of their misconduct.

       168.    To remedy the ONECOIN CORPORATE Defendants’ unjust enrichment, the

Court should order the ONECOIN CORPORATE Defendants to immediately return Plaintiff’s

and the Class’ investments and disgorge any amounts received by the ONECOIN CORPORATE

Defendants as a result of their misconduct alleged herein.

                       COUNT VII - FRAUDULENT INDUCEMENT
                      [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       169.    The ONECOIN CORPORATE Defendants, by acts of both omission and

commission, made to Plaintiff and the Class Members false statements of material facts about the

services Plaintiff and the Class Members would receive from ONECOIN LTD. upon investing in

the OneCoin trader packages/memberships and/or OneCoins.

       170.    Specifically, the ONECOIN CORPORATE Defendants’ representations to Plaintiff

and the Class Members that, among other things:

       (a)     OneCoins were actual cryptocurrencies;

       (b)     ONECOIN LTD. utilized mining equipment that would provide OneCoin
               trader package owners/memberships valuable mined OneCoins that helped
               its investors generate far-greater-than-average returns on their investments;

       (c)     The value of OneCoin trader packages/memberships and/or OneCoins were
               based on market demand, not an arbitrarily-ascribed value internally
               determined by ONECOIN LTD. itself;

       (d)     Investment returns were legitimately generated and were not simply a
               reallocation of new ONECOIN LTD. investors’ money used to pay the
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               promised returns on outstanding ONECOIN LTD. investors’ investments in
               classic Ponzi scheme fashion;

       (e)     The OneCoin trader packages/memberships complied with all applicable
               securities laws; and

       (f)     The ONECOIN LTD. affiliates who were paid commissions for their sale
               of OneCoin trader packages/memberships and/or OneCoins were properly
               registered to procure those sales

were false, and the ONECOIN CORPORATE Defendants knew at the time the statements were

made that the statements were false.

       171.    The ONECOIN CORPORATE Defendants intended that Plaintiff and the Class

Members would be induced into action by relying upon the statements of fact made to them by

and on behalf of the ONECOIN CORPORATE Defendants.

       172.    In considering whether to invest in OneCoin trader packages/memberships and/or

OneCoins and entrust to ONECOIN LTD. their valuable assets; Plaintiff and the Class Members

reasonably and justifiably relied on the statements of fact made to them by and on behalf of the

ONECOIN CORPORATE Defendants.

       173.    As a direct and proximate result of Plaintiff’s and the Class Members’ reliance on

the statements made to them by the ONECOIN CORPORATE Defendants, Plaintiff and the Class

Members have suffered damage.

                  COUNT VIII - FRAUDULENT MISREPRESENTATION
                    [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       174.    The ONECOIN CORPORATE Defendants, by acts of both omission and

commission, made to Plaintiff and the Class Members false statements of material facts about the

services Plaintiff and the Class Members would receive from ONECOIN LTD. upon opening




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ONECOIN LTD. memberships and investing in the OneCoin trader packages/memberships and/or

OneCoins.

       175.    Specifically, the ONECOIN CORPORATE Defendants’ representations to Plaintiff

and the Class Members that, among other things:

       (a)     OneCoins were actual cryptocurrencies;

       (b)     ONECOIN LTD. utilized mining equipment that would provide OneCoin
               trader package owners/memberships valuable mined OneCoins that helped
               its investors generate far-greater-than-average returns on their investments;

       (c)     The value of OneCoin trader packages/memberships and/or OneCoins were
               based on market demand, not an arbitrarily-ascribed value internally
               determined by ONECOIN LTD. itself;

       (d)     Investment returns were legitimately generated and were not simply a
               reallocation of new ONECOIN LTD. investors’ money used to pay the
               promised returns on outstanding ONECOIN LTD. investors’ investments in
               classic Ponzi scheme fashion;

       (e)     The OneCoin trader packages/memberships complied with all applicable
               securities laws; and

       (f)     The ONECOIN LTD. affiliates who were paid commissions for their sale
               of OneCoin trader packages/memberships and/or OneCoins were properly
               registered to procure those sales

were false, and the ONECOIN CORPORATE Defendants knew at the time the statements were

made that the statements were false.

       176.    The ONECOIN CORPORATE Defendants’ misrepresentations were made with

reckless disregard for the truth.

       177.    The ONECOIN CORPORATE Defendants intended that Plaintiff and the Class

Members would be induced into action by relying upon the statements of fact made to them by

and on behalf of the ONECOIN CORPORATE Defendants.

       178.    In considering whether to invest in OneCoin trader packages/memberships and/or

OneCoins and entrust to ONECOIN LTD. their valuable assets; Plaintiff and the Class Members

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reasonably and justifiably relied on the statements of fact made to them by and on behalf of the

ONECOIN CORPORATE Defendants.

       179.    As a direct and proximate result of Plaintiff’s and the Class Members’ reliance on

the statements made to them by the ONECOIN CORPORATE Defendants, Plaintiff and the Class

Members have suffered damage.

                    COUNT IX - NEGLIGENT MISREPRESENTATION
                     [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       180.    The ONECOIN CORPORATE Defendants, by acts of both omission and

commission, made to Plaintiff and the Class Members false statements of material facts about the

services Plaintiff and the Class Members would receive from ONECOIN LTD. upon opening a

ONECOIN LTD. membership and investing in the OneCoin trader packages/memberships and/or

OneCoins in exchange for the fees they were compelled to pay to maintain membership accounts

at ONECOIN LTD.

       181.    Specifically, the ONECOIN CORPORATE Defendants’ representations to Plaintiff

and the Class Members that, among other things:

       (a)     OneCoins were actual cryptocurrencies;

       (b)     ONECOIN LTD. utilized mining equipment that would provide OneCoin
               trader package owners/memberships valuable mined OneCoins that helped
               its investors generate far-greater-than-average returns on their investments;

       (c)     The value of OneCoin trader packages/memberships and/or OneCoins were
               based on market demand, not an arbitrarily-ascribed value internally
               determined by ONECOIN LTD. itself;

       (d)     Investment returns were legitimately generated and were not simply a
               reallocation of new ONECOIN LTD. investors’ money used to pay the
               promised returns on outstanding ONECOIN LTD. investors’ investments in
               classic Ponzi scheme fashion;



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       (e)     The OneCoin trader packages/memberships complied with all applicable
               securities laws; and

       (f)     The ONECOIN LTD. affiliates who were paid commissions for their sale
               of OneCoin trader packages/memberships and/or OneCoins were properly
               registered to procure those sales

were false, and the ONECOIN CORPORATE Defendants knew at the time the statements were

made that the statements were false.

       182.    The ONECOIN CORPORATE Defendants had no reasonable grounds upon which

to believe the statements were true when made to Plaintiff and the Class Members.

       183.    The ONECOIN CORPORATE Defendants intended that Plaintiff and the Class

Members would be induced into action by relying upon the statements of fact made to them by

and on behalf of the ONECOIN CORPORATE Defendants.

       184.    In considering whether to invest in OneCoin trader packages/memberships and/or

OneCoins and entrust to ONECOIN LTD. their valuable assets; Plaintiff and the Class Members

reasonably and justifiably relied on the statements of fact made to them by and on behalf of the

ONECOIN CORPORATE Defendants.

       185.    As a direct and proximate result of Plaintiff’s and the Class Members’ reliance on

the statements made to them by the ONECOIN CORPORATE Defendants, Plaintiff and the Class

Members have suffered damage.

                                COUNT X - CONVERSION
                      [AGAINST THE ONECOIN CORPORATE DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       186.    Plaintiff transferred funds and assets to ONECOIN LTD. for investment to obtain

OneCoin trader packages/memberships and/or OneCoins.




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       187.    ONECOIN LTD. has kept Plaintiff’s and the Class Members’ funds and assets after

Plaintiff and the Class Members requested their return, despite ONECOIN LTD.’s lack of any

ownership interest in the assets.

       188.    By refusing to return to Plaintiff and the Class Members their assets, ONECOIN

LTD. intended to interfere with, and indeed has interfered with, Plaintiff’s and the Class Members’

ownership and interest in those holdings and has deprived Plaintiff and the Class Members of their

property, permanently or temporarily.

       189.    Upon information and belief, ONECOIN LTD. has utilized Plaintiff’s and the Class

Members’ funds and assets to cover ONECOIN LTD.’s own business expenses and to enrich its

directors, shareholders, and affiliates, including Defendants RUJA, KONSTANTIN IGNATOV,

and GREENWOOD.

       190.    As a result of ONECOIN LTD.’s conversion of Plaintiff’s and the Class Members’

funds and assets to its own corporate uses and the personal use of its directors, shareholders, and

affiliates; Plaintiff and the Class Members have suffered damage.

                                COUNT XI - CIVIL CONSPIRACY
                                  [AGAINST ALL DEFENDANTS]

       Plaintiff re-alleges, and adopts byreference herein, Paragraphs 1 – 137 above, and further alleges:

       191.    Defendants have conspired with one another, willfully and knowingly, to devise a

scheme and artifice to defraud and to obtain money and property by means of false and fraudulent

pretenses, representations, and promises. As such, Defendants did willfully and knowingly

combine, conspire, confederate, and agree together and with each other to commit, inter alia,

securities fraud, wire fraud, and money laundering.

       192.    More specifically, Defendants conspired with one another to perpetrate an unlawful

act upon Plaintiff and the Class Members or to perpetrate a lawful act by unlawful means, to wit:

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they made multiple misrepresentations of fact to Plaintiff and the Class Members in an effort to

extract from Plaintiff and the Class Members funds, assets, and cryptocurrency to fund ONECOIN

LTD.’s own business expenses and to enrich its directors, shareholders, and affiliates, not to fund

the purportedly legitimate purpose to which Plaintiff and the Class Members were told by

Defendants that their investment assets were being applied – all of which put Defendants’ own

pecuniary interest ahead of Plaintiff’s and the Class Members’ welfare and economic safety.

       193.    Defendants solicited and/or accepted from Plaintiff and the Class Members large

sums of funds, assets, and cryptocurrency while withholding from Plaintiff and the Class Members

certain material facts.

       194.    Each of the Defendants agreed to the illicit purpose for garnering investment

monies from Plaintiff and the Class Members so that ONECOIN LTD.’s directors, shareholders,

and affiliates could enjoy lavish lifestyles with Plaintiff’s and the Class Members’ funds, assets,

and cryptocurrency.

       195.    Defendants were each aware of, and consented to, the misrepresentations detailed

above and knew that the efforts to garner funds, assets, and cryptocurrency from Plaintiff and the

Class Members was all part of a fraud aimed solely at enriching ONECOIN LTD.’s directors,

shareholders, and affiliates without any intent to remunerate Plaintiff and the Class Members in

any legitimate way purported by ONECOIN LTD.

       196.    In furtherance of their conspiracy, Defendants made to Plaintiff and the Class

Members, or agreed to have someone make on their behalf, the false statements of fact detailed

above and purposefully withheld from Plaintiff and the Class Members certain material facts

detailed above in a concerted effort to obtain Plaintiff’s and the Class Members’ funds, assets, and

cryptocurrency.


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       197.   To fulfill its role in the conspiracy, ONECOIN LTD. operated its website,

disseminated an army of promoters and equipped them with false information about the OneCoin

trader packages/memberships and/or OneCoins, and pretended to be operating a legitimate,

legally-compliant investment platform.

       198.   To fulfill her role in the conspiracy, Defendant RUJA:

              (a)        willfully and knowingly, directly and indirectly, by the use of the
                         means and instrumentalities of interstate commerce, and of the
                         mails, and of facilities of national securities exchanges, would and
                         did use and employ, in connection with the purchase and sale of
                         securities, manipulative and deceptive devices and contrivances by:
                         (a) employing devices, schemes and artifices to defraud; (b) making
                         untrue statements of material fact and omitting to state material facts
                         necessary in order to make the statements made, in the light of the
                         circumstances under which they were made, not misleading; and (c)
                         engaging in acts, practices and courses of business which operated
                         and would operate as a fraud and deceit upon persons, to wit: RUJA,
                         and others working on her behalf, made and caused to be made false
                         statements and misrepresentations soliciting individuals throughout
                         the world, including in the Southern District of New York, to invest
                         in “OneCoin,” a purported cryptocurrency, and thereby caused
                         individuals in the United States and elsewhere to purchase OneCoin
                         packages -- resulting in the receipt of over $1 billion of investor
                         funds into OneCoin-related bank accounts.

              (b)        willfully and knowingly, having devised and intending to devise a
                         scheme and artifice to defraud and for obtaining money and property
                         by means of false and fraudulent pretenses, representations, and
                         promises, would and did transmit and cause to be transmitted by
                         means of wire, radio, and television communication in interstate and
                         foreign commerce, writings, signs, signals, pictures, and sounds for
                         the purpose of executing such scheme and artifice, to wit: RUJA,
                         and others working on her behalf, made and caused to be made false
                         statements and misrepresentations soliciting individuals throughout
                         the world, including in the Southern District of New York, to invest
                         in “OneCoin,” a purported cryptocurrency, and instructed
                         individuals to transmit investment funds to OneCoin depository
                         accounts in order to purchase OneCoin packages, thereby causing
                         individuals to send interstate and international wires representing
                         their OneCoin investments, and resulting in the receipt of over $1
                         billion of investor funds into OneCoin-related bank accounts


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       (c)        knowing that the property involved in certain financial transactions
                  represented the proceeds of some form of unlawful activity --
                  conducted and attempted to conduct such financial transactions
                  which in fact involved the proceeds of specified unlawful activity,
                  to wit: approximately $400 million in proceeds of a pyramid scheme
                  involving a purported cryptocurrency known as “OneCoin,”
                  knowing that the transactions were designed, in whole or in part, to
                  conceal and disguise the nature, location, source, ownership, and
                  control of the proceeds of such specified unlawful activity; and

       (d)        transported, transmitted, and transferred, and attempted to transport,
                  transmit, and transfer a monetary instrument and funds from a place
                  in the United States to and through a place outside the United States,
                  and to a place in the United States from and through a place outside
                  the United States -- knowing that the monetary instrument and funds
                  involved in the transportation, transmission, and transfer
                  represented the proceeds of some form of unlawful activity, and
                  knowing that such transportation, transmission, and transfer was
                  designed in whole and in part to conceal and disguise the nature,
                  location, source, ownership, and control of the proceeds of specified
                  unlawful activity, to wit: approximately $400 million in proceeds of
                  a pyramid scheme involving a purported cryptocurrency known as
                  “OneCoin.”

199.   To fulfill his role in the conspiracy, Defendant IGNATOV:

       (a)        willfully and knowingly, directly and indirectly, by the use of the
                  means and instrumentalities of interstate commerce, and of the
                  mails, and of facilities of national securities exchanges, would and
                  did use and employ, in connection with the purchase and sale of
                  securities, manipulative and deceptive devices and contrivances by:
                  (a) employing devices, schemes and artifices to defraud; (b) making
                  untrue statements of material fact and omitting to state material facts
                  necessary in order to make the statements made, in the light of the
                  circumstances under which they were made, not misleading; and (c)
                  engaging in acts, practices and courses of business which operated
                  and would operate as a fraud and deceit upon persons, to wit:
                  IGNATOV, and others working on her behalf, made and caused to
                  be made false statements and misrepresentations soliciting
                  individuals throughout the world, including in the Southern District
                  of New York, to invest in “OneCoin,” a purported cryptocurrency,
                  and thereby caused individuals in the United States and elsewhere
                  to purchase OneCoin packages -- resulting in the receipt of over $1
                  billion of investor funds into OneCoin-related bank accounts.

       (b)        willfully and knowingly, having devised and intending to devise a
                  scheme and artifice to defraud and for obtaining money and property
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                  by means of false and fraudulent pretenses, representations, and
                  promises, would and did transmit and cause to be transmitted by
                  means of wire, radio, and television communication in interstate and
                  foreign commerce, writings, signs, signals, pictures, and sounds for
                  the purpose of executing such scheme and artifice, to wit:
                  IGNATOV, and others working on her behalf, made and caused to
                  be made false statements and misrepresentations soliciting
                  individuals throughout the world, including in the Southern District
                  of New York, to invest in “OneCoin,” a purported cryptocurrency,
                  and instructed individuals to transmit investment funds to OneCoin
                  depository accounts in order to purchase OneCoin packages, thereby
                  causing individuals to send interstate and international wires
                  representing their OneCoin investments, and resulting in the receipt
                  of over $1 billion of investor funds into OneCoin-related bank
                  accounts

       (c)        knowing that the property involved in certain financial transactions
                  represented the proceeds of some form of unlawful activity --
                  conducted and attempted to conduct such financial transactions
                  which in fact involved the proceeds of specified unlawful activity,
                  to wit: approximately $400 million in proceeds of a pyramid scheme
                  involving a purported cryptocurrency known as “OneCoin,”
                  knowing that the transactions were designed, in whole or in part, to
                  conceal and disguise the nature, location, source, ownership, and
                  control of the proceeds of such specified unlawful activity; and

       (d)        transported, transmitted, and transferred, and attempted to transport,
                  transmit, and transfer a monetary instrument and funds from a place
                  in the United States to and through a place outside the United States,
                  and to a place in the United States from and through a place outside
                  the United States -- knowing that the monetary instrument and funds
                  involved in the transportation, transmission, and transfer
                  represented the proceeds of some form of unlawful activity, and
                  knowing that such transportation, transmission, and transfer was
                  designed in whole and in part to conceal and disguise the nature,
                  location, source, ownership, and control of the proceeds of specified
                  unlawful activity, to wit: approximately $400 million in proceeds of
                  a pyramid scheme involving a purported cryptocurrency known as
                  “OneCoin.”

200.   To fulfill his role in the conspiracy, Defendant GREENWOOD:

       (a)        willfully and knowingly, directly and indirectly, by the use of the
                  means and instrumentalities of interstate commerce, and of the
                  mails, and of facilities of national securities exchanges, would and
                  did use and employ, in connection with the purchase and sale of
                  securities, manipulative and deceptive devices and contrivances by:
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               (a) employing devices, schemes and artifices to defraud; (b) making
               untrue statements of material fact and omitting to state material facts
               necessary in order to make the statements made, in the light of the
               circumstances under which they were made, not misleading; and (c)
               engaging in acts, practices and courses of business which operated
               and would operate as a fraud and deceit upon persons, to wit:
               GREENWOOD, and others working on her behalf, made and caused
               to be made false statements and misrepresentations soliciting
               individuals throughout the world, including in the Southern District
               of New York, to invest in “OneCoin,” a purported cryptocurrency,
               and thereby caused individuals in the United States and elsewhere
               to purchase OneCoin packages -- resulting in the receipt of over $1
               billion of investor funds into OneCoin-related bank accounts.

    (b)        willfully and knowingly, having devised and intending to devise a
               scheme and artifice to defraud and for obtaining money and property
               by means of false and fraudulent pretenses, representations, and
               promises, would and did transmit and cause to be transmitted by
               means of wire, radio, and television communication in interstate and
               foreign commerce, writings, signs, signals, pictures, and sounds for
               the purpose of executing such scheme and artifice, to wit:
               GREENWOOD, and others working on her behalf, made and caused
               to be made false statements and misrepresentations soliciting
               individuals throughout the world, including in the Southern District
               of New York, to invest in “OneCoin,” a purported cryptocurrency,
               and instructed individuals to transmit investment funds to OneCoin
               depository accounts in order to purchase OneCoin packages, thereby
               causing individuals to send interstate and international wires
               representing their OneCoin investments, and resulting in the receipt
               of over $1 billion of investor funds into OneCoin-related bank
               accounts

    (c)        knowing that the property involved in certain financial transactions
               represented the proceeds of some form of unlawful activity --
               conducted and attempted to conduct such financial transactions
               which in fact involved the proceeds of specified unlawful activity,
               to wit: approximately $400 million in proceeds of a pyramid scheme
               involving a purported cryptocurrency known as “OneCoin,”
               knowing that the transactions were designed, in whole or in part, to
               conceal and disguise the nature, location, source, ownership, and
               control of the proceeds of such specified unlawful activity; and

    (d)        transported, transmitted, and transferred, and attempted to transport,
               transmit, and transfer a monetary instrument and funds from a place
               in the United States to and through a place outside the United States,
               and to a place in the United States from and through a place outside
               the United States -- knowing that the monetary instrument and funds
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                         involved in the transportation, transmission, and transfer
                         represented the proceeds of some form of unlawful activity, and
                         knowing that such transportation, transmission, and transfer was
                         designed in whole and in part to conceal and disguise the nature,
                         location, source, ownership, and control of the proceeds of specified
                         unlawful activity, to wit: approximately $400 million in proceeds of
                         a pyramid scheme involving a purported cryptocurrency known as
                         “OneCoin.”

       201.   To fulfill his role in the conspiracy, Defendant SCOTT:

              (a)        knowing that the property involved in certain financial transactions
                         represented the proceeds of some form of unlawful activity --
                         conducted and attempted to conduct such financial transactions
                         which in fact involved the proceeds of specified unlawful activity,
                         to wit: approximately $400 million in proceeds of a pyramid scheme
                         involving a purported cryptocurrency known as OneCoin, knowing
                         that the transactions were designed, in whole or in part, to conceal
                         and disguise the nature, location, source, ownership, and control of
                         the proceeds of such specified unlawful activity;

              (b)        transported, transmitted, and transferred, and attempted to transport,
                         transmit, and transfer a monetary instrument and funds from a place
                         in the United States to and through a place outside the United States,
                         and to a place in the United States from and through a place outside
                         the United States -- knowing that the monetary instrument and funds
                         involved in the transportation, transmission, and transfer
                         represented the proceeds of some form of unlawful activity, and
                         knowing that such transportation, transmission, and transfer was
                         designed in whole and in part to conceal and disguise the nature,
                         location, source, ownership, and control of the proceeds of specified
                         unlawful activity, to wit: approximately $400 million in proceeds of
                         a pyramid scheme involving a purported cryptocurrency known as
                         “OneCoin.”

       202.   ONECOIN LTD. conducted no legitimate business -- something of which each of

the Defendants were aware and which they accepted as part of the scheme to defraud ONECOIN

LTD. investors and accountholders, including Plaintiff and the Class Members.

       203.   As a direct and proximate result of Defendants’ conspiracy, Plaintiff and the Class

Members have suffered damage.




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                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, CHRISTINE GRABLIS, individually and on behalf of all

others similarly situated, respectfully prays for relief as follows:

        (a) Declaring that this action is properly maintainable as a class action and
            certifying Plaintiff as the Class representative and her counsel as Class counsel;

        (b) Declaring that the ONECOIN CORPORATE Defendants offered and sold
            unregistered securities in violation of the federal securities laws;

        (c) Declaring the ONECOIN CORPORATE Defendants are liable to Plaintiff and
            the Class under Sections 12(a)(1) and/or 15(a) of the Securities Act;

        (d) Declaring that Defendants are liable to Plaintiff and the Class due to their breach
            of contract, fraudulent inducement, fraudulent misrepresentation, negligent
            misrepresentation, conversion, and civil conspiracy;

        (e) Preliminarily enjoining Defendants from making further transfers or
            dissipations of the investments raised from the offer and sale of OneCoins and
            in connection with the OneCoin trader packages/memberships, or using such
            funds in any further purchases or transactions;

        (f) Requiring an accounting of the remaining funds and assets raised from Plaintiff
            and the Class in connection with the offer and sale of OneCoins and the
            OneCoin trader packages/memberships;

        (g) Imposing a constructive trust over the funds and assets rightfully belonging to
            Plaintiff and the Class;

        (h) Ordering rescission of the investments made by Plaintiff and the Class relating
            to the offer and sale of OneCoins and the OneCoin trader
            packages/memberships and/or compensatory damages;

        (i) Awarding Plaintiff the costs of this action, including reasonable allowance for
            Plaintiff’s attorneys’ and experts’ fees; and

        (j) Granting such other and further relief as this Court may deem just and proper.

                                   DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by jury

in this action of all issues so triable.




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                                                             Respectfully submitted,

                                                             THE BRAUNSTEIN LAW FIRM, PLLC

                                                             By: /s/
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                                                             Counsel for Plaintiff and Putative Class

Dated:   May 7, 2019




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